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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                    Chapter 11

    ALLEGIANCE COAL USA LIMITED,                             Case No. 23-10234 (CTG)
    et al.,
                                                             Joint Administration Requested
                                        1
                             Debtors.


                   NOTICE OF HEARING TO CONSIDER FIRST DAY PAPERS

    This remote hearing will be conducted entirely over Zoom and requires all participants to
                    register in advance. Please register prior to the hearing.

                    COURTCALL WILL NOT BE USED FOR THIS HEARING.

                        Please use the following link to register for this hearing:

https://debuscourts.zoomgov.com/meeting/register/vJItceypqDwqHnk8s5OpgRPAUds4qTmEmAo

After registering your appearance by Zoom, you will receive a confirmation email containing
                           information about joining the hearing.

            YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR
                  YOU WILL NOT BE ALLOWED INTO THE MEETING.

                             Topic: In re Allegiance Coal USA Limited, et al.

                   Time: February 23, 2023 at 2:00 PM Eastern Time (US and Canada)


            PLEASE TAKE NOTICE that on February 21, 2023, Allegiance Coal USA Limited and

its affiliated debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the




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            The Debtors in these cases, along with the last four digits of each Debtor’s federal EIN, are as
            follows: Allegiance Coal USA Limited (1324); New Elk Coal Holdings LLC (1314); New Elk Coal
            Company LLC (0615); and Black Warrior Minerals, Inc. (6486). The Debtors’ mailing address for
            purposes of these chapter 11 cases is 12250 Highway 12, Weston, CO 81091.
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United States Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that the Debtors continue to operate their business

as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         PLEASE TAKE FURTHER NOTICE that a hearing (the “First Day Hearing”) will be

held REMOTELY OVER ZOOM before the Honorable Craig T. Goldblatt, United States

Bankruptcy Judge, at the United States Bankrupty Court for the District of Delaware, located at

824 North Market Street, 3rd Floor, Courtroom # 7, Wilmington, Delaware 19801 on February

23, 2023 at 2:00 p.m. (ET) on the following motions requesting certain “first day” relief (the

“First Day Pleadings”), which have been filed by the Debtors in connection with their chapter 11

cases (the “Chapter 11 Cases”).

  D.I. No.                                   First Day Pleadings
     5        Debtors’ Motion for Entry of an Order Directing Joint Administration of Chapter
              11 Cases (D.I. 5, filed 2/22/23).

     6        Motion of the Debtors for Interim Order Authorizing the Debtors to Honor
              Prepetition Workforce Obligations (D.I. 6, filed 2/22/23).

     8        Motion of the Debtors for Entry of an Interim Order (I) Authorizing Debtors to (A)
              Continue their Existing Cash Management System, (B) Maintain their Bank
              Accounts and Existing Business Forms, (C) Implement Changes to the Existing
              Cash Management System as Necessary, and (D) Continue Ordinary Course
              Intercompany Transactions, (II) Extending the Time to Comply with the
              Requirements of 11 U.S.C. § 345(b) and the U.S. Trustee’s Operating Guidelines,
              and (III) Granting Related Relief (D.I. 8, filed 2/22/23).

     9        Debtors’ Motion for Interim Order (I) Authorizing The Debtors to Utilize Cash
              Collateral; (II) Granting Adequate Protection to the Prepetition Lender; (III)
              Waiving Any Stay of the Effectiveness of the Relief Granted; and (IV) Granting
              Related Relief (D.I. 9, filed 2/22/23).




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     10      Declaration of Jonathan Romcke in Support of Emergency Relief (D.I. 10, filed
             2/22/23).




       Copies of the First Day Pleadings may be inspected in the offices of the Clerk of the

Bankruptcy Court during normal business hours or downloaded from the Bankruptcy Court’s

website at www.deb.uscourts.gov. Please note that prior registration with the PACER Service

Center and payment of a fee may be required to access such documents. Parties in interest may

sign up for a PACER account by visiting the PACER website at http://pacer.psc.uscourts.gov or

by calling (800) 676-6856.



 Dated: February 23, 2023               MORRIS, NICHOLS, ARSHT & TUNNELL LLP
        Wilmington, Delaware


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                                        Proposed Counsel to the Debtors and
                                        Debtors in Possession




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